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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PHILIP LAWRENCE MORIARTY                                      CIVIL ACTIO1N

 v.                                                            NO. 20-3696

 ZEFF LAW FIRM LLC et al


                                                CIVIL JUDGMENT


                   AND NOW, this 26th day of January, 2022, in accordance with the verdict

rendered by the jury in this matter on January 26, 2022,

                   IT IS ORDERED that Judgment be and the same is hereby entered in favor of

Defendants, Zeff Law Firm, LLC and Gregg Zeff, Esquire,and against Plaintiff Philip Lawrence

Moriarty.


                                                                  BY THE COURT:

                                                                  ATTEST:

                                                                  s/ Lori K. DiSanti
                                                                  Lori DiSanti Deputy Clerk to
                                                                  Hon Michael M. Baylson, USDJ




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